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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

xX
ALLISON LENDING LLC, 7:24-cv-07956-PMH
Plaintiff,
ORDER TO SHOW CAUSE
-against- FOR DEFAULT JUDGMENT
OF FORECLOSURE AND SALE
CROTON DEVELOPMENT LLC,
VASEL BALBONA
Defendant(s).
xX

HALPERN, U.S.D.J.:

Upon the annexed supporting Affirmation of Alan H. Weinreb, Esq., dated March 19, 2025,
and upon consideration of Plaintiff's request for Entry of Judgment by Default and exhibits
annexed thereto, it is hereby:

ORDERED, that the Defendants show cause before the Honorable Philip M. Halpern in

Courtroom 520 of the Hon. Charles L. Brieant Jr. Federal Building and Courthouse, 300

Quarropas Street, White Plains, New York 10601, -o+—telephontealh—bs—ealine—

on April 25, 2025 on submission only; no appearances

on 22S at—__elrel ora secithereatter

-as-counselimay-be-heard, why an order should not be issued entering a judgment of foreclosure

and sale on behalf of Plaintiff against Defendants Croton Development LLC and Vasel Balbona

for failure to answer or otherwise move with respect to the Complaint herein;

ORDERED, that objectionNg the relief requesfed herein or answering papers, if any, shall

be served upon Margolin, Weinreb & Niefex, LP, attn.: Alan H. Weinreb, Esq., 575 Underhill

Blvd., Suite 224, Syosset, NY 11791, by t , 2025; and it is further;

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on or before the SX

service.

, 2025, shall be dee good and sufficient

Dated: White Plains, New York
, 2025

The Honorable Philip M. Halpen SP .

ORDERED, that on or before April 4, 2025 Plaintiff shall serve a copy of this Order, and the

documents upon which it is based, upon Croton Development LLC, by Federal Express at its last known
address and by serving copies of the foregoing upon Croton Development LLC by way of the Office of
the Secretary of State of the State of New York: and upon the Individual Defendant Vasel Balbona by
personal service at his last known address; and it is further

ORDERED, that Plaintiff shall file proof of such service by April 11, 2025; and it is further

ORDERED, that Defendants Croton Development LLC and Vasel Balbona shall serve and file opposing
papers, if any, on or before April 25, 2025.

Dated: White Plains, New York (Suu

March 21, 2025 PHILIP M. HALPERN
United States District Judge

